Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 1 of 9



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                         CASE NO. 19-mc-20493-UNGARO/O'SULLMN

 SECURITIES AND EXCHANGE COMMISSION,
           Applicant,
 v.
 CARLA MARTN,
           Respondent.
                                                           I

                   RESPONDENT'S MOTION TO STAY PENDING APPEAL

           The Respondent, CARLA MARIN ("MARIN" or Respondent), by and through
 undersigned counsel and pursuant to the Federal Rules of Civil Procedure hereby respectfully
 submits this Motion to Stay Pending Appeal, and in support thereof states as follows:
                          BACKGROUND & PROCEDURAL HISTORY
 1.        On February 6,2019, the SECURITIES AND EXCHANGE COMMISSION ("SEC" or
 Applicant), sought an Application for an Order to Show Cause and an Order Enforcing
 Administrative Subpoena (the "Application"). lD.E. 11. Specifically, the SEC sought to enforce
 certain subpoenas (both for testimony and record production) from Respondent. Thereafter, both
 sides filed briefs in relation to the Application.

 2.      On March 19, 2019, the Parties came before the Hon. John J. O'Sullivan, Chief United
 States Magistrate Judge, for an evidentiary hearing on the Application (the
                                                                             o'hearing"). Following

 the hearing, the Court entered an Order that the Parties provide additional briefing specifically on
 the issue of personal jurisdiction over the Respondent.

 3.        On May 31,2019, Magistrate Judge O'Sullivan issued his Report and Recommendation,
 therein recommending the Application be granted. [D.E. 56].
 4.        On September 30, 2019, this Honorable Court entered its Order on Magistrate's Report and
 Recommendation.        [D.E.   63].   Therein, this Court adopted the Magistrate's Report and
 Recommendation and further ordered that the SEC's Application was granted and this matter was
 closed.
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 2 of 9


                                                                          CASE NO. 19-mc-20493-VA
                                                                                                Page 2   of8

 5.        Respondent herein brings this Motion pursuant to Fed. R. Civ. P. 62 seeking to stay the
 enforcementoftheApplication,i.e.to stayanydepositions andlor documentproductionpursuant
 to the subpoenas at-issue, pending the Respondent's appeal of this Court's ruling.
                                MEMORANDUM OF LAW IN SUPPORT
           As will be explained in greater depth below, Respondent is in the process of appealing this
 Court's Order granting the SEC's Application. The Respondent herein moves this Court to stay
 these proceedings in the pendency of the appeal pursuant to Fed. R. Civ. P. 62(c),(d).

                                          LEGAL AUTHORITIES
           A party seeking to stay proceedings       pending an appeal generally must first show the
 following:
           (1) A likelihood that the petitioner will prevail on the merits of the appeal;
           (2) lrceparable injury to the petitioner unless the stay is granted;
           (3) No substantial harm to other interested persons; and
           (a) No harm to the public interest.
 See Pitcher v. Laird,4l5 F.2d743 (sth Cir. 1969); See also: Hiltonv.Braunskil/,481 U.                    S.
 770,776 (1987).

           Pursuant to Fed. R. Civ. P. 62, aparty may move to stay the proceedings or enforcement
 of the trial court's judgment. As it relates to monetary judgments, a party may obtain a stay by
 providing a bond "or other security" and the trial court may grant said stay           if   the trial court
 approves the bond or other security. See Fed. R. Civ. P. 62(b). Generally, as          it relates to non-
 monetary judgments, however, Fed. R. Civ. P. 62(c) states that the proceedings are not stayed
 during an appeal, unless the trial court so orders.
          As it relates to injunctions, under Fed. R. Civ. P. 62(d), during the pendency of an appeal,
 the   "[trial] court may   suspend, modify . . . or grant the [issuance] of an injunction" and may do so

 "on terms for bond or other terms that secure the opposing party's rights."
                                                ARGUMENT
          Respondent moves this Honorable Court under Fed. R. Civ. P. 62 for an order staying the

 enforcement     of the Application pending the exercise of             Respondent's appellate rights.
 Respondent hereinafter sets forth the basis for that relief as follows:
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 3 of 9


                                                                              CASE NO. 19-mc-20493-UU
                                                                                                  Page 3   of8

         i.    Respondent Has Met the Prerequisites for Seeking a Stay Pending Appeal.
         As explained above, Respondent is generally required to show four (4) prerequisites in
 order to seek a stay of these proceedings pending an appeal. Specifically, likelihood of success on

 the merits (of the appeal), irreparable injury       if   a stay is not entered, and no substantial harm to
 other interested persons (or the public).


                    a.    Likelihood of Success on the Merits
         First, Respondent must show that there is a likelihood of prevailing on the merits of the
 appeal. To demonstrate a likelihood of success, the Respondent need not "show a mathematical
 probability of success" but rather that they are pursuing challenging, serious legal questions that
 present a need for a "'more deliberative investigation."' See Jewish War Veterans of U.5., Inc. v.

 Gates, 522 F. Supp. 2d 73,76 (D.D.C. 2007). Moreover, even                if Respondent cannot establish a
 likelihood of success on appeal, where there is a strong showing on irreparable harm, a stay is
 appropriate     if they "have made out a 'substantial case on the merits."        See Ctr.   For Int'l Envtl,
 Law v. Ofiice of U.S. Trade Representative,240 F. Supp. 2d,21,22 (D.D.C.2003).
         Here, for sake of brevity, Respondent         will not reiterate the extensive   arguments already
 laid before this Court, as it relates to both the viability of the FOI in question and as to the exercise

 of personal jurisdiction. As Respondent has urged in its various filings, supported by unrebutted
 sworn testimony, the Respondent has no contacts whatsoever within this District and none of the
 underlying facts/events relate to this District. The ruling by this Court requiring Respondent to
 appear in a foreign jurisdiction is contrary to well-settled jurisprudence interpreting Respondent's

 due process protections, insofar as the effect of the Court's       ruling is that anyU.S. citizenis subject
 to personal jurisdiction in any District Court in the United States. Respondent challenges this
 position with a wealth of jurisprudence and on fundamental due process grounds and urges that
 personal jurisdiction cannot be found in this        District. The SEC has not set forth a single         case

 holding for such a sweeping conclusion, and the vast majority of the cases relied upon by the SEC
 involved foreign defendants/respondents. In sum, in Respondent'$view, there is a legitimate good
 faith dispute   as to   whether or not this Court can exercise personal jurisdiction over the Respondent.
         This issue is novel and the Honorable Magistrate O'Sullivan initially refused to rule on the
 Application following the March 19,2019 evidentiary hearing because of the lack of clarity on the
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 4 of 9


                                                                             CASE NO. 19-mc-20493-UU
                                                                                           Page 4 of 8

 personal jurisdiction issue. Indeed, Magistrate       O'sullivan required the Parties provide additional
 briefing after the hearing specifically on the issue of personal jurisdiction, as that issue remained
 unclear. lD.E.27l; [D.E.      35]. The fact that the Magistrate O'Sullivan was unwilling         or unable to

 make a ruling on personal jurisdiction following extensive briefings and an evidentiary hearing
 underlies that the positions of the Respondent on personal jurisdiction is a viable and good faith
 argument that may prevail on appeal. The Respondent is not required to show "a mathematical
 probability of success," but rather need only show that Respondent is pursuing a challenging legal
 issue that merits a "more deliberative investigation." See Jewish War Veterans              of U.5., lnc.,522
 F. Supp. 2d at76 (D.D.C. 2007). Here, plainly Respondent has met this showing and urges this
 Court that Respondent has a "likelihood of prevailing on the merits" on the appeal.


                    b.   Irreparable Injury
             Second, Respondent must show that irreparable injury        will occur if   a stay is not entered.

 Irreparable injury has been found to exist where "the very rights [they] seek to protect will have
 been destroyed     [if a stay is not entered]."   See Council on Am. Islamic Relations v. Gaubatz,667

 F. Supp. 2d,67,76 (D.D.C. 2009). Irreparable harm is found to exist where the failure to grant a
 stay   will   ostensibly destroy the appellant's right to secure appellate       review.     See Providence

 Journal Co. v. FBI, 595 F.2d 889, 890 (lst Cir. 1979)            (".    . the Constitution and laws entitle
 litigants to have their cases independently reviewed by an appellate tribunal. Meaningful review
 entails having the reviewing court take a fresh look at the decision of the trial court before it
 becomes irrevocable. Appellants' right        of   appeal here   will   become moot unless the stay is
 continuedpending determination ofthe appeals."). See also: Ctr. For Int'l Envtl. Law,240 F. Supp.
 2d21,23 (D.D.C.2003).
           Here, irreparable injury will befall the Respondent if a stay is not entered. At present, the

 SEC is seeking to compel the Respondent to spend her time and money to travel from New York
 to Florida for deposition, as well as producing documents. Respondent seeks appellate review as
 to, inter   alia, challenge whether the FOI in question is valid and as to whether this Court possesses
 a basis   for personal jurisdiction. If a stay is not entered, to abate the deposition while Respondent
 litigates the appeal, the Respondent will be left with no viable recourse. If Respondent chooses to
 sit for the deposition in Florida, giving up her time, disrupting her work as an attorney in New
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 5 of 9


                                                                                   CASE NO. 19-mc-20493-UU
                                                                                                          Page 5   of8

 York and spending potentially thousands of dollars in travel expenses and lodging, Respondent
 would thereby eradicate her appellate rights by rendering any appeal moot before it can even be
 litigated. Or, alternatively, Respondent can attempt to preserve her appellate rights by refusing to
 comply with this Court's Order, thus exposing herself to a potential finding of contempt and the
 various sanctions flowing therefrom. Thus, Respondent exposes herself either to potential
 contempt penalties or waiver of her appellate rights             if   a stay is not entered. This is sufficient to
 meet the requirement of showing irreparable harm, as the risk of waiving appellate rights has
 categorically been held as sufficient grounds for irreparable harm. See Providence Journal Co. v.
 FBI,   595 F.2d 889 (1st     Cir" 1979)).
                   c. No Substantial Harm to Other Interested Persons or the Public if a Stay is
                     Entered Pending Appeal
          Finally, Respondent must show that no substantial harm to other interested persons or the
 public if a stay is entered. Here, Respondent asserts that the SEC (or the public generally) will not
 suffer any harm     if a stay is entered.
          As was set forth in greater depth in the various briefings, the SEC has freely admitted in
 its Application that the central inquiry of their "investigation" is whether Guy Gentile ("Gentile"),
 andlor his purported entities (i.e. SureTrader), engaged in unlicensed broker-dealer                 conduct.l The
 Respondent has already raised in its responsive briefings that the SEC could simply obtain a new

 Formal Order       of   Investigation ("FOI") into Gentile or SureTrader, and thus continue that
 investigation in compliance with the provisions of the Securities               Act. In addition, the       SEC can
 simply continue to pursue that "investigation" by actually directing their discovery efforts at
 Gentile himself or SureTrader, the actual target of the apparent "investigation," which is of course
 the most direct and logical mechanism. The SEC cannot plausibly claim that the only means they

 have   of furthering their "investigation" are through the Respondent here, as the Respondent is,                      at

 best, tangentially relevant to the SEC's apparent "investigation" and Respondent is not even
 alleged to have engaged in any illegal conduct.




 I To be sure, the SEC has freely admitted that its "investigation" is directed at Guy Gentile ("Gentile") and his
 purported company, Swiss America Securities, Ltd. flkla SureTrader ("SureTrader"). [D.8. I at pp.l-3]. The Report
 & Recommendation, adopted by this Court, also adopts that the SEC's investigation is directed at Gentile and/or
 SureTrader:"[T]heSECissuedsubpoenas...totherespondent...aspartofaninvestigationinto[SureTrader]...
 and its owner, Guy Gentile, in connection with potential violations of the federal securities law." [D.E. 56 atp.2].
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 6 of 9


                                                                          CASE NO. 19-mc-20493-UU
                                                                                                  Page 6     of8

           Respondent urges that the harm that would befall the SEC or the public atlarge is dubious

  and de minimis, and because Respondent has raised legitimate issues requiring appellate review

 and    will suffer irreparable harm if a stay is not entered, the balancing of interests favors entering
 the stay. This is because this Court is generally required to balance the showing of merit and injury

 upon the Respondent, versus whatever public interest the SEC has                         in   furthering this
 "investigation." See Ctr. For Int'l Envtl. Law,240 F. Supp. 2d at23 ("The remaining two factors

 -    potential harm to plaintiffs and other individuals or to the public interest   if   a stay is granted    -
 argae against a stay but ultimately do not outweigh defendants" showing of a substantial case on

 the merits and irreparable harm. .   .").   Here, as explained above, Respondent has raised      a   justiciable

 issue and    will undeniably suffer irreparable harm if    a stay is not entered. Thus, on balance, this

 should favor entering a stay, particularly since the SEC's "investigation"      will not be significantly
 stifled pending the resolution of the appeal.


           ii.   This Court Has Authority to Enter a Stay Pursuant to Fed. R. Civ. P. 62(c) or
                 Fed. R. Civ. P.62(d).
           As explained above, Respondent respectfully asserts it has met the mandatory pre-
 requisites for entering a stay. Thus, this Court has discretion to enter a stay pending appeal under

 Fed. R. Civ. P. 62(c) or (d).

           As it relates to non-monetary judgments under Fed. R. Civ. P. 62(c), although a stay is
 generally not to be entered, the Court is entitled to enter a stay    if it so chooses. Here, in light of
 the fact that a stay is necessary to preserve Respondent's appellate rights, this Court should
 exercise its discretion under Fed. R. Civ. P. 62(c), and stay these proceedings pending appeal.

           Altematively, under Fed. R. Civ. P. 62(d), it states that "While an appeal is pending from
 an   interlocutory order or final judgment that grants fan injunction], the court may suspend, modify.
 . . or grant an injunction on terms for bond or other terms that secure the opposing party's rights."

           Here, the Court's Order granting the Application is not interlocutory in nature, but in its
 essence    it is ostensibly an injunctive order, insofar as it requires the Respondent to do some act,
 i.e. travel from New York to Florida for a deposition and producing documents. This is not                     a

 novel argument, but rather supported by prior jurisprudence. For example, in Neve, a stay was
 entered under Fed. R. Civ. P. 62(d) in a case where a party (Neve) was compelled to comply with

 an administrative summons/subpoena. See United States v. Neve,80 F.R.D. 461 (E.D. La. 1978).
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 7 of 9


                                                                             CASE NO. 19-mc-20493-AU
                                                                                                      Page 7   of8

 Specifically, in Neve, the defendant (Neve) appealed an order requiring him to comply with an
 IRS summons, and sought a stay pending appellate review. The court in that case concluded that
 orders on summons/subpoena enforcement proceedings are appealable orders and thus "it follows
 that with a stay order a witness would suffer no injury while testing the summons." Id at 463.
 Therefore, the Court concluded "[that] the stay in this case comes within Fed. R. Civ. P. 62(d) and

 . . . the Motion to Stay Execution of Judgment will be granted upon the filing of a supersedeas
 bond in the amount of $250.00 ."   Id.   See also Reismanv. Caplin, 84 S. Ct. 508,         5I4 (1964). Thus,
 like in Neve, this Court should find that the enforcement of the administrative subpoenas at-issue
 may be stayed pursuant to Fed. R. Civ. P. 62(d) pending appeal.


                                             CONCLUSION
        In sum, Respondent urges this Court to enter a stay pursuant to Fed. R. Civ. P. 62(c),(d).
 Respondent has set forth a viable basis for a stay by showing that Respondent has a reasonable
 likelihood of prevailing on appeal, that Respondent will suffer irreparable injury             if   a stay is not

 entered, and that the relative injury to the SEC (or the public) is outweighed by Respondent's
 showing. This Court has the discretion under Fed. R. Civ. P. 62(c) to enter a stay. Alternatively,
 this Court cantreat its Order as injunctive innature and enter a staypursuant to Fed. R. Civ.                  P.

 62(d) and if necessary may require a commensurate bond.

                                                         Respectfully submitted,

                                                         By: /s/ Lorne E. B
                                                         Lorne E. Berkeley, Esq.
                                                         Florida Bar No.: 146099
                                                         Em ai l   : lbq*p_l-qy-@,_cl"rhqt"p_.ln"w*"Qnt
                                                        Alexander L. Wildman, Esq.
                                                        Florida Bar No. 116930
                                                        Email : ar,vi I dm ar,r&)dr:bclc-l ar,v. com
                                                        Attorney for Respondent, Carla Marin
                                                         DANIELS RODRIGUEZ BERKELEY
                                                         DANIELS & CRUZ, P.A.
                                                        4000 Ponce De Leon Boulevard
                                                        Suite 800
                                                        Coral Gables, Florida 33146
                                                        Telephone No.: (305)-448-7988
                                                        Facsimile No.: (305) 448-7978
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 8 of 9


                                                                    CASE NO. 19-mc-20493-UU
                                                                                       Page 8   of8



                                   CERTIFICATE OF SERVICE
           I HEREBY CERTIFY      that on the 9th day of October,   20I9,I electronically filed the

 above document using CM/ECF or directed service in the method set forth in the attached Service

 List either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those who are not authorizedto receive electronically Notices of Electronic

 Filing.

                                                             /s/ Lorne E. Berkeley

                                                             Lorne E. Berkeley, Esq.
Case 1:19-mc-20493-UU Document 65 Entered on FLSD Docket 10/09/2019 Page 9 of 9




                                         SERVICE LIST


 Amie Riggle Berlin, Esq.
 Email : berlina@sec. gov
 Senior Trial Counsel
 Attorney for Plaintiff
 SECURITIES AND EXCHANGE COMMISSION
 801 Brickell Avenue, Suite 1800
 Miami, Florida 33131
 Telephone: (305) 982-6300
 Facsimile: (305) 536-4154




   D A N I [i t" s ]1. (.} D R I (j t.J l:; )L I3 li l{ K. i:i L. !; Y D r\ N I Ii L, S C R I.l 7,
 4000 PONCE DE LEON BOULEVARD, SUITE 800, CORAL GABLES, FL 33146 ) www.dtbdc-la*.com
 T:305.44      8.7988      F:305'448.7978              TOLL      FREE:        888.448.7988
